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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    NEWARK DIVISION


IN RE: PROTON-PUMP INHIBITOR                        MDL No. 2789
PRODUCTS LIABILITY LITIGATION                       Case No.: 2:17-md-2789 (CCC)(MF)
(NO. II)

This Document Relates to:
Jandace Edwards O/B/O Gilda Edwards, vs.

AstraZeneca Pharmaceuticals LP, et al.



        FIRST AMENDED SHORT FORM COMPLAINT AND JURY DEMAND

          The Plaintiff(s) n a m e d b e l o w file(s) this First Amended Short Form

Complaint and Demand for Jury Trial against Defendants named below by and through

their undersigned counsel and as permitted by Case Management Order No. 7. Plaintiff(s)

incorporate(s) by reference the allegations contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand in In re: Proton-Pump Inhibitor Products Liability Litigation,

MDL 2789, in the United States District Court for the District of New Jersey pursuant to

Case Management Order No. 7.

          In addition to those causes of action contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand, where certain claims require specific pleadings and/or

amendments, Plaintiff(s) shall add and include them herein.

                                    IDENTIFICATION OF PARTIES

Identification of Plaintiff(s)

1.         Name of individual injured/deceased due to the use of PPI Product(s):
            Gilda Edwards
                                                                                            .

2.         Consortium Claim(s): The following individual(s) allege damages for loss of



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                  Not Applicable.
consortium:                     ________________________________________________.

3.        Survival and/or Wrongful Death Claims:

           a. Plaintiff,                          , is filing this case in a representative capacity

              as the                                       of the Estate of                            ,

              deceased.

           b. Survival Claim(s): The following individual(s) allege damages for survival

              claims, as permitted under applicable state laws:

                                                                                                   .

4.         As a result of using PPI Products, Plaintiff/Decedent suffered pain and suffering,

emotional distress, mental anguish, and personal and economic injur(ies) that are alleged to

have been caused by the use of the PPI Products identified in Paragraph 10, below, but not

limited to the following:
             X
                               injury to himself/herself

                               injury to the person represented

                              wrongful death

                               survivorship action
             X
                               economic loss

                               loss of services

                               loss of consortium

                               other:


Identification of Defendants

5.         Plaintiff(s)/Decedent is/are suing the following Defendant(s) (please check all that

apply):



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             Abbott Laboratories

        ✔    AstraZeneca Pharmaceuticals LP

        ✔    AstraZeneca LP

             GlaxoSmithKline Consumer Healthcare Holdings (US) LLC

             GlaxoSmithKline Consumer Healthcare LP

             GlaxoSmithKline Consumer Healthcare Holdings (US) IP LLC

        ✔    Merck & Co. Inc. d/b/a Merck, Sharp & Dohme Corporation

             Novartis Corporation

             Novartis Pharmaceutical Corporation

             Novartis Vaccines and Diagnostics, Inc.

             Novartis Institutes for Biomedical Research, Inc.

             Novartis Consumer Health, Inc.

             Pfizer, Inc.

             The Procter & Gamble Company

             Procter & Gamble Manufacturing Company

             Takeda Pharmaceuticals USA, Inc.

             Takeda Pharmaceuticals America, Inc.

             Takeda Pharmaceuticals LLC

             Takeda Pharmaceuticals International, Inc.

             Takeda California, Inc.

             Takeda Development Center Americas, Inc. f/k/a Takeda Global Research
             & Development Center, Inc.

             Takeda Pharmaceutical Company Limited

             TAP Pharmaceutical Products, Inc. f/k/a TAP Holdings Inc.

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                  Wyeth Pharmaceuticals, Inc.

                  Wyeth-Ayerst Laboratories

                  Wyeth LLC

                   Other(s) Defendant(s) (please identify):




                               JURISDICTION & VENUE

Jurisdiction:

6.         Jurisdiction in this Short Form Complaint is based on:

             ✔    Diversity of Citizenship

                  Other (The basis of any additional ground for jurisdiction must be pled in

sufficient detail as required by the applicable Federal Rules of Civil Procedure).



Venue:

 7.         District Court(s) in which venue was proper where you might have otherwise filed

      this Short Form Complaint absent Case Management Order No. 7 entered by this Court

 and/or to where remand could be ordered:
 United States District Court for the District of New Jersey
                                                                                               .




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                                      CASE SPECIFIC FACTS
                                                                 Tucson, AZ
8.          Plaintiff(s) currently reside(s) in (City, State):                         .

9.          To the best of Plaintiff’s knowledge, Plaintiff/Decedent used PPI Product(s) during
                                Approx. 2010 to 11/2017
the following time period:                                                                       .

10.         Plaintiff/Decedent used the following PPI Products, for which claims are being

asserted:

                    Dexilant

             ✔      Nexium

                    Nexium 24HR

                    Prevacid

                    Prevacid 24HR

             ✔      Prilosec

                    Prilosec OTC

                    Protonix

                    Other (List All):

11.         The injuries suffered by Plaintiff/Decedent as a result of the use of PPI Products

include, among others that will be set forth in Plaintiff’s discovery responses and medical

records:

                    Acute Interstitial Nephritis (AIN)

             ✔      Acute Kidney Injury (AKI)

             ✔      Chronic Kidney Disease (CKD)

             ✔      End Stage Renal Disease (ESRD)

             ✔      Dialysis

                    Death


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           ✔     Other(s) (please specify):
           Removal of gallbladder on January 16, 2018 (?)




12.      At the time of the Plaintiff’s/Decedent’s diagnosis of injury, Plaintiff/Decedent
                            Tucson, AZ
resided in (City, State):                                                                    .

                                     CAUSES OF ACTION

13.     Plaintiff(s), again, hereby adopt(s) and incorporate(s) by reference the Master

Long Form Complaint and Jury Demand as if fully set forth herein.

14.      The following claims and allegations asserted in the Master Long Form

Complaint and Jury Demand are herein more specifically adopted and incorporated by

reference by Plaintiff(s) please check all that apply):

          ✔      Count I: Strict Product Liability

          ✔      Count II: Strict Product Liability – Design Defect

          ✔      Count III: Strict Product Liability – Failure to Warn

          ✔      Count IV: Negligence

          ✔      Count V: Negligenc Per Se

          ✔      Count VI: Breach of Express Warranty

          ✔      Count VII: Breach of Implied Warranty

          ✔      Count VIII: Negligent Misrepresentation

          ✔      Count IX: Fraud and Fraudulent Misrepresentation

          ✔      Count X: Fraudulent Concealment

          ✔      Count XI: Violation of State Consumer Protection Laws of the State(s) of:
                 Arizona                                                                 .

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                Count XII: Loss of Consortium

                Count XIII: Wrongful Death

                Count XIV: Survival Action

                Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

Causes of Action against Defendant(s) identified in Paragraph five (5) above. If Plaintiff(s)

includes additional theories of recovery, to the extent they require specificity in pleadings,

the specific facts and allegations supporting these theories must be pled by Plaintiff(s) in a

manner complying with the requirements of the Federal Rules of Civil Procedure:




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         WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit and such further relief as

the Court deems equitable and just, and as set forth in the Master Long Form Complaint

and Jury Demand, as appropriate.

                                        JURY DEMAND

         Plaintiff(s) hereby demand a trial by jury as to all claims in this action.
         04/10/2018
Dated:


                                                 Respectfully Submitted,


                                                 /s/ Christopher A. Seeger
                                                 ____________________________
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                                                 Asim M. Badaruzzaman
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